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AO93 Search and Seimre Warrant

UNITED STATES DISTRICT COURT

for the
District of Arizona

In the Matter of the Search of Case No. 2/ 7 loi
1583 South Western Skies Drive, Gilbert, Arizona 85296
(Target Premises A-3)

SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search of the
following person or property located in the District of Arizona:

As further described in Attachment A.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property described above, and that such search will reveal:

As set forth in Attachment B.

YOU ARE COMMANDED to execute this warrant on or before / H (not to exceed 14 days)
in the daytime 6:00 a.m. to 10:00 p.m. O at any time in the day or night as I find reasonable cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken
to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where
the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to any United States Magistrate Judge on
criminal duty in the District of Arizona.

N HA C1} I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay of trial),
and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be searched or

seized O for _30_ days (not to exceed 30) O until, the facts justifying, the later specific date of

{
Date and time issued: / 27/5 -Z0Z/ @ Syn PIALALSS a

Judge’s signature

City and state: Phoenix, Arizona Honorable MICHELLE H. BURNS, U.S. Magistrate Judge
Printed name and title

 
 

 

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ATTACHMENT A-3
Property to Be Searched

The premises and property to be searched is a single-family residence located
1583 South Western Skies Drive, Gilbert, Arizona 85296 (Target Premises A-3). Target
Premises A-3 is located on the corner of Western Skies Drive Just north of Ray Road in
Gilbert, Arizona. Target Premises A-3 iis a single level that is painted tan in color with
white trim and a red tile roof. The front door is faces east. The numbers “1583” are
affixed next to the garage door on the south wall of the garage on a tan tile. The front

yard is landscaped in rock with small shrubs and a large tree.

 

  

 
 

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ATTACHMENT B
Property To Be Seized

1, United States currency, foreign currency, financial instruments, negotiable

instruments, jewelry, precious metals, stocks, bonds, money wrappers, and receipts or

documents regarding purchases of real or personal property;

2. Records relating to the receipt, transportation, deposit, transfer, or

distribution of money, including but not limited to, direct deposit confirmations, wire

transfers, money orders, cashier’s checks, check stubs, PayPal or other electronic money

transfer services, check or money order purchase receipts, account statements, and any

other records reflecting the receipt, deposit, or transfer of money;

3. Safe deposit box keys, storage locker keys, safes, and related secure storage

devices, and documents relating to the rental or ownership of such units;

4. Currency counters;

5. The following items of clothing:

a.
b.

Cc.

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Gray Wig;
Black hooded sweatshirt;

Camouflage pants;

. Large framed black eyeglasses;

White athletic shoes with black Nike “Swoosh”;
Neon green/yellow long sleeve shirt:

Neon green/yellow vest with reflective stripes;
Black jeans pants with rips;

White shoes;

Black bandana with white paisley design;

White boonie style hat;

Neon orange long sleeve shirt;

m. Neon orange vest with reflective stripe;

1

 

 
 

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n. Black athletic shoes with white sole trim;
o. Surgical style mask/face covering;

Camouflage boonie hat;

o

Dark green boonie hat;

mt

Blue gloves with gray palms;

s. Neon yellow gloves with black palms;

t. Long-sleeve white shirt with paint stains and a red graphic on the back:
u. Long-sleeve white shirt with paint stains;

v. Light colored jeans;

w. Floral print (roses) shirt;

x. Tan camouflage boonie-style hat;

y. Black wrap-around sunglasses; and

z. Black gloves.

6. Indicia of occupancy, residency, rental, ownership, or use of the Target
Premises and any vehicles found thereon during the execution of the warrant, including,
utility and telephone bills, canceled envelopes, rental, purchase or lease agreements,
identification documents, keys, records of real estate transactions, vehicle titles and
registration, and vehicle maintenance records;

7. Photographs, including still photos, negatives, slides, videotapes, and films,
in particular those showing co-conspirators, criminal associates, U.S. currency, real and
personal property, or firearms;

8. Firearms, ammunition, magazines, cases, boxes, holsters, slings, gun pieces,
gun cleaning items or kits, ammunition belts, original box packaging, targets, expended
pieces of lead, and records, receipts, or other paperwork showing the purchase, storage,
disposition, or dominion and control over firearms and ammunition;

9. Computers, cellular telephones, tablets, and other media storage devices,
such as thumb drives, CD-ROMs, DVDs, Blu Ray disks, memory cards, and SIM cards

(hereafter referred to collectively as “electronic storage media’); and

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10. Records evidencing ownership or use of electronic storage media, including

sales receipts, registration records, and records of payment.

As used above, the terms “records” and “information” includes all forms of creation
or storage, including any form of computer or electronic storage (such as hard disks or
other media that can store data); any handmade form (such as writing); any mechanical
form (such as printing or typing); and any photographic form (such as prints, slides,
negatives, videotapes, motion pictures, or photocopies). This shall include records of
telephone calls; names, telephone numbers, usernames, or other identifiers saved in address
books, contacts lists and other directories; text messages and other stored communications;
subscriber and device information; voicemails or other audio recordings; videos;

photographs; e-mails; internet browsing history; calendars; to-do lists; contact information;

 

mapping and GPS information; data from “apps,” including stored communications;
reminders, alerts and notes; and any other information in the stored memory or accessed
by the electronic features of the computer, electronic device, or other storage medium.
This warrant authorizes a review of records and information seized, copied or
disclosed pursuant to this warrant in order to locate evidence, fruits, and instrumentalities
described in this warrant. The review of this electronic data may be conducted by any
government personnel assisting in the investigation, who may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, and
technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the
seized, copied, or disclosed electronic datato the custody and control of attorneys for the

government and their support staff for their independent review.

 

 
 

 

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AO 106 Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
District of Arizona

1583 South Western Skies Drive, Gilbert, Arizona 85296
(Target Premises A-3)

In the Matter of the Search of Case No. 2 - Age WMO
|

APPLICATION FOR A SEARCH WARRANT

I, Jamie Marshall, a federal law enforcement officer or an attorney for the government, request a search warrant
and state under penalty of perjury that I have reason to believe that on the following person or property:

As further described in Attachment A.
located in the District of Arizona, there is now concealed:
As set forth in Attachment B.

The basis for the search under Fed. R. Crim. P. 41(c) is:
IX] evidence of a crime;
contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;
C1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:
Code/Section Offense Description
18 U.S.C. § 2113 Bank Robbery and Incidental Crimes

 

The application is based on these facts:
See attached Affidavit of Task Force Officer Jamie Marshall.

Continued on the attached sheet.

CX) Delayed notice of _30_ days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

Reviewed by AUSA COLEEN SCHOCH Qame Marshall

Applicant ’s Signature

JAMIE MARSHALL, TASK FORCE OFFICER, FBI

hep Uviee tly, Printed name and title t
Sworn o-before ine and signed in-my present,
wom PUL MMM D tre

Date: _/2-/5 -2oe2 Judge's signature

 

City and state: Phoenix, Arizona Honorable MICHELLE H. BURNS, U.S. Magistrate Judge
Printed name and title

 

 
 

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ATTACHMENT A-3
Property to Be Searched

The premises and property to be searched is a single-family residence located
1583 South Western Skies Drive, Gilbert, Arizona 85296 (Target Premises A-3). Target
Premises A-3 is located on the corner of Western Skies Drive just north of Ray Road in
Gilbert, Arizona. Target Premises A-3 iis a single level that is painted tan in color with
white trim and a red tile roof. The front door is faces east. The numbers “1583” are
affixed next to the garage door on the south wall of the garage on a tan tile. The front

yard is landscaped in rock with small shrubs and a large tree.

 

  

 
 

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ATTACHMENT B
Property To Be Seized

1. United States currency, foreign currency, financial instruments, negotiable
instruments, jewelry, precious metals, stocks, bonds, money wrappers, and receipts or
documents regarding purchases of real or personal property;

2. Records relating to the receipt, transportation, deposit, transfer, or
distribution of money, including but not limited to, direct deposit confirmations, wire

transfers, money orders, cashier’s checks, check stubs, PayPal or other electronic money

 

transfer services, check or money order purchase receipts, account statements, and any
other records reflecting the receipt, deposit, or transfer of money;

3. Safe deposit box keys, storage locker keys, safes, and related secure storage
devices, and documents relating to the rental or ownership of such units;

4. Currency counters;

5. The following items of clothing:
a. Gray Wig;

b. Black hooded sweatshirt;

c. Camouflage pants;

d. Large framed black eyeglasses;

e. White athletic shoes with black Nike “Swoosh”;
f. Neon green/yellow long sleeve shirt;

Neon green/yellow vest with reflective stripes;

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Black jeans pants with rips;

White shoes;

Tr

Black bandana with white paisley design;

Cet

k. White boonie style hat;
1. Neon orange long sleeve shirt;

m. Neon orange vest with reflective stripe;

1

 

 
 

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n. Black athletic shoes with white sole trim;

o. Surgical style mask/face covering;
p. Camouflage boonie hat;
q. Dark green boonie hat;

Blue gloves with gray palms;

m

s. Neon yellow gloves with black palms;

t. Long-sleeve white shirt with paint stains and a red graphic on the back;
u. Long-sleeve white shirt with paint stains:

v. Light colored jeans;

w. Floral print (roses) shirt;

 

x. Tan camouflage boonie-style hat;
y. Black wrap-around sunglasses; and

z. Black gloves.

6. Indicia of occupancy, residency, rental, ownership, or use of the Target
Premises and any vehicles found thereon during the execution of the warrant, including,
utility and telephone bills, canceled envelopes, rental, purchase or lease agreements,
identification documents, keys, records of real estate transactions, vehicle titles and
registration, and vehicle maintenance records;

7. Photographs, including still photos, negatives, slides, videotapes, and films,
in particular those showing co-conspirators, criminal associates, U.S. currency, real and
personal property, or firearms;

8. Firearms, ammunition, magazines, cases, boxes, holsters, slings, gun pieces,
gun cleaning items or kits, ammunition belts, original box packaging, targets, expended
pieces of lead, and records, receipts, or other paperwork showing the purchase, storage,
disposition, or dominion and control over firearms and ammunition;

9. Computers, cellular telephones, tablets, and other media storage devices,
such as thumb drives, CD-ROMs, DVDs, Blu Ray disks, memory cards, and SIM cards

(hereafter referred to collectively as “electronic storage media”); and

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10. Records evidencing ownership or use of electronic storage media, including
sales receipts, registration records, and records of payment.

As used above, the terms “records” and “information” includes all forms of creation
or storage, including any form of computer or electronic storage (such as hard disks or
other media that can store data); any handmade form (such as writing); any mechanical
form (such as printing or typing); and any photographic form (such as prints, slides,
negatives, videotapes, motion pictures, or photocopies). This shall include records of
telephone calls; names, telephone numbers, usernames, or other identifiers saved in address
books, contacts lists and other directories; text messages and other stored communications;
subscriber and device information; voicemails or other audio recordings; videos;
photographs; e-mails; internet browsing history; calendars; to-do lists; contact information;
mapping and GPS information; data from “apps,” including stored communications;
reminders, alerts and notes; and any other information in the stored memory or accessed
by the electronic features of the computer, electronic device, or other storage medium.

This warrant authorizes a review of records and information seized, copied or
disclosed pursuant to this warrant in order to locate evidence, fruits, and instrumentalities
described in this warrant. The review of this electronic data may be conducted by any
government personnel assisting in the investigation, who may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, and
technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the
seized, copied, or disclosed electronic data to the custody and control of attorneys for the

government and their support staff for their independent review.

 

 
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AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANTS

I, Jamie Marshall, a Task Force Officer with the Federal Bureau of Investigation,

being duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND
I make this affidavit in support of an application for search warrants to search the following
residential properties and vehicles, which are currently located in the District of Arizona:

1. 745 North Port Drive, Gilbert, Arizona 85233 (Target Premises A-1).
Located within Target Premises A-1, I seek to seize evidence, fruits, and instrumentalities
of the criminal violations listed herein, as further described in Attachment B.

2. 1726 West Pollack Street, Phoenix, Arizona 85041 (Target Premises A-2).
Located within Target Premises A-2, I seek to seize evidence, fruits, and instrumentalities
of the criminal violations listed herein, as further described in Attachment B.

3. 1583 South Western Skies Drive, Gilbert, Arizona 85296 (Target Premises
A-3). Located within Target Premises A-3, I seek to seize evidence, fruits, and
instrumentalities of the criminal violations listed herein, as further described in
Attachment B.

4. A silver, 2017 Ford Explorer, four-door SUV, bearing Arizona license plate
number HTA97B and vehicle identification number (VIN) ending in C22002 (Target
Premises A-4). Located within Target Premises A-4, I seek to seize evidence, fruits, and
instrumentalities of the criminal violations listed herein, as further described in
Attachment B.

5. A black 2017 BMW 640, four-door sedan, bearing Arizona license plate
number 3RAOAQA, and vehicle identification number (VIN) ending in 39751 (Target
Premises A-5). Located within Target Premises A-5, I seek to seize evidence, fruits, and
instrumentalities of the criminal violations listed herein, as further described in
Attachment B.

6. A white 2019 BMW X3 Station wagon four-door bearing Arizona license
plate number HWAOJE, and vehicle identification number (VIN) ending in 88202 (Target

 
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Premises A-6). Located within Target Premises A-6, I seek to seize evidence, fruits, and
instrumentalities of the criminal violations listed herein, as further described in
Attachment B.

7. A white 2019 Dodge Challenger two door coupe with black stripes on the
sides, bearing Arizona license plate number YMASTB, and vehicle identification number
(VIN) ending in 12004 (Target Premises A-7). Located within Target Premises A-7, I
seek to seize evidence, fruits, and instrumentalities of the criminal violations listed herein,

as further described in Attachment B.

INTRODUCTION AND AGENT BACKGROUND

1. Your Affiant is a Task Force Officer with the Federal Bureau of Investigation
(FBI), Phoenix, Arizona, and has been since August of 2020. Prior to being assigned as a
Task Force Officer with the FBI Violent Crimes Task Force, your Affiant has been
employed by the Phoenix, Arizona Police Department since 1999. Since 2017, your A ffiant
has been assigned to the Phoenix Police Department’s Violent Crimes Unit. In that time,
your Affiant has been tasked with conducting investigations of Violent Crimes,
specifically: Robbery, Kidnapping, Extortion, Aggravated Assault and Serious Assaults.
Your Affiant has received basic and advanced training in Violent Crimes Investigations,
crime scene management, evidence collection, and shooting reconstruction.

2. I am familiar with the facts surrounding the investigation of the four bank
robberies described below. All the United States currency stolen during these robberies
were federally insured by the Federal Deposit Insurance Corporation (“FDIC”). This
investigation involves violations of 18 U.S.C. § 2113(a) and (d) (Bank Robbery and
Incidental Crimes). Based on my training and experience and the facts as set forth in this
affidavit, there is probable cause to believe that, within Target Premises A-1 through A-
7, there are evidence, fruits, and instrumentalities of criminal violations of 18 U.S.C. §

2113(a) and (d) within the District of Arizona. There is also probable cause to search the

 
 

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locations described in Attachments A-1 though A-7 for evidence, instrumentalities,
contraband, and fruits of these crimes as further described in Attachment B.

3. The facts in this affidavit come from my own investigation, my training and
experience, the investigation of other agents and law enforcement officers working the
case, and information obtained from witnesses.

4. Because this Affidavit is being submitted for the limited purpose of
establishing probable cause for the requested warrant, your Affiant has not set forth all of

the relevant facts known to law enforcement officers.

PROBABLE CAUSE
The FBI Violent Crimes Task Force, along with other local law enforcement
agencies, have been investigating series of bank robberies, in violation of 18 U.S.C §
2113(a) and (d), which occurred on October 29, 2021, November 5, 2021, and November
20, 2021, and December 11, 2021 in the District of Arizona.

Incident #1: October 29, 2021, Chase Bank,
2528 West Southern Avenue, Tempe, Arizona
Tempe Police Department Report Number 2021-119501
4. On October 29, 2021, at approximately 4:49 p.m., an unidentified Black male
suspect entered the Chase Bank, a federally insured institution, located at 2528 West
Southern Avenue in Tempe, Arizona. Once inside the bank, the suspect approached the
victim/teller and demanded money by yelling “give me the money!” and then banged his
hands with closed fists on the teller counter. The suspect then moved to a second teller,
who was next to the first teller, and repeated the action of demanding money while banging
his hands on the counter. At one point the suspect made the motion toward his waistline
which is consistent with reaching for a weapon from his left front waist band; however,
neither victim teller saw a weapon. The suspect verbally demanded the teller not to provide

any trackers or dye packs. Once the suspect obtained money from the two tellers, the

 
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suspect moved to a third teller and yelled again, “give me the money!” The third teller

complied and gave the suspect additional money. The suspect fled the bank with

  

approximately $11,918.00 in U.S. currency.

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5, The suspect was described by witnesses and surveillance video as a Black
male, approximately 5’8” to 6’0” tall, 25 to 35 years of age, 170 to 190 pounds, with short
beard/facial hair, wearing a gray wig, black long sleeve hooded shirt, camouflage pants,
white athletic shoes, and large black framed eyeglasses.

6. A witness followed and watched the suspect as he fled out of the bank. The
witness reported to police that the suspect fled northbound on Fair Lane and entered the
front passenger side of a gray or silver in color Ford Explorer. Fair Lane is on the west side
of the bank and runs north from Southern Avenue

Subsequent Investigation

7. Following this robbery, Tempe Police detectives conducted a canvas for
surveillance footage from neighboring businesses.

8. On October 30, 2021, Tempe Police Department detectives reviewed
surveillance video from the business Treasures 4 Teachers in Tempe, which had cameras
facing east toward Fair Lane. Detectives also reviewed video captured by a city bus which
was in the area of the bank prior to the robbery.

9. The city bus was parked facing westbound on Huntington Drive near the
intersection of Huntington Drive and Fair Lane. Huntington Drive is the next road north of

the bank. Video from the bus captured a silver Ford Explorer as it turned from southbound

 
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Fair Lane onto eastbound Huntington Drive and went past the bus at approximately 4:46
p.m. The Ford Explorer made a U-turn and stopped behind the bus. Video showed a black
male exit the passenger side of the Ford Explorer and start walking south toward the Chase
Bank. The black male matched the physical and clothing description of the suspect who
later robbed the Chase Bank. The Ford Explorer then drove past the bus and turned
northbound on Fair Lane at approximately 4:47 p.m. until out of view of the video from
the parked bus.

10. Shortly after, at approximately 4:50 p.m., the city bus was driving north on
Fair Lane past the Treasures 4 Teachers business. Review of the video from the bus, as it
drove along Fair Lane, revealed what appeared to be the silver Ford Explorer backed into
a parking spot of a business along Fair Lane north of Huntington Drive.

11. | Video obtained from Treasures 4 Teachers showed the suspect running north
along Fair Lane approximately 45 seconds to a minute after the bus had driven by the store.
It is noted that the direction the suspect was running is consistent with, and toward, the area
where bus video captured what appeared to be the Ford Explorer backed into a parking
spot of a business.

12. The video from the bus captured the back end of the Ford Explorer with an
Arizona license plate and a portion of the license plate digits legible. Investigators
determined the middle digits of the license plate were “A97.” Investigators researched the
partial license plate in law enforcement and other databases and identified the vehicle
registration for a silver, 2017 Ford Explorer assigned Arizona license plate HTA97B. It is
noted that the body style of the silver Ford Explorer captured on the bus video was similar
and consistent with that of the 2017 model year.

13. Arizona Motor Vehicle Division records listed Arizona license plate
HTA97B as being assigned to a silver, 2017 Ford Explorer, VIN ending in C22002 (Target
Premises A-4), with a registered owner of Rickey Duwayne Garrett, Sr. (RICKEY), date
of birth XX/XX/1961, at 1726 West Pollack Street, Phoenix, Arizona (Target Premises
A-2).

 
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14. Aninternet search identified RICKEY as the pastor of a church located north
of the bank near Broadway Road and 48th Street in Tempe. Research revealed that
RICKEY has six children. Database checks identified one of those sons as Roderick
Duwayne GARRETT, date of birth XX/XX/1985.

15. Checks of law enforcement databases revealed that Roderick GARRETT was
convicted of Bank Robbery in 2010 in U.S. District Court. Additionally, Roderick
GARRETT was convicted of Felon in Possession of a Firearm and Ammunition in 2018 in
U.S. District Court. Records indicate that Roderick GARRETT is currently on federal
supervised release in the District of Arizona until May 2023. Your Affiant viewed
photographs of Roderick GARRETT from the Arizona Motor Vehicle Department, the
Bureau of Prisons, and recent social media posts, and these photographs look like the
person who robbed the Chase Bank on October 29, 2021.

16. On November 1, 2021, a license plate reader located at the 202 freeway and
32nd Street in Phoenix, Arizona, captured the silver Ford Explorer at 4:05 p.m.

17. On November 2, 2021, the Court issued and filed under seal a tracking
warrant for the silver Ford Explorer, No. 21-8278-MB.

18. On November 2, 2021, law enforcement placed a tracking device on the
silver Ford Explorer at approximately 1700 hours in the parking lot of 2219 South 48th
Street, Tempe, Arizona 85282.

19. On November 2, 2021, at approximately 1545 hours, law enforcement
conducted surveillance at RICKEY’s place of employement, The Message Church, located
at 2219 South 48th Street, Tempe, Arizona, 85282. Law enforcement located the Silver
Ford Explorer to place a tracking device on the vehicle. At approximately 1700 hours,
while law enforcement watched the Silver Ford Explorer, they observed Roderick
GARRETT arrive in the parking lot driving the his black BMW bearing Arizona License
plate 3RAOA9A (Target Premises A-5).

20. A white BMW SUV-style vehicle bearing Arizona license plate HWAOJE
(Target Premises A-6) followed the black BMW into the parking lot and parked to the

 
Case 2:21-mb-00386-MHB Document1 Filed 12/15/21 Page 17 of 32

east of the black BMW. An unidentified black male exited the driver's seat wearing a white
short-sleeve t-shirt, blue jeans, and a gold watch on his left wrist.

21. GARRETT and the unidentified black male entered The Message Church for
a moment before exiting the building and retrieving what appeared to be framed pictures
or paintings from the rear seat of the black BMW and took those items into The Message
Church.

22. At approximately 1715 hours, GARRETT and the unidentified black male
exited The Message Church and re-entered their respective vehicles. Both vehicles
departed the parking lot and turned southbound onto 48th Street.

23. Investigators researched the license plate of the black BMW in law
enforcement and other databases and identified the vehicle registration for a black 2017
BMW 640, four-door sedan, bearing Arizona license plate number 3RAOAQA, and vehicle
identification number (VIN) ending in 39751 (Target Premises A-5), registered to
Roderick Duwayne Garrett, date of birth XX/XX/1985, at 745 North Port Drive, Gilbert,
Arizona 85233 (Target Premises A-1). This registration expired in June 2021.

24. Law enforcement obtained photographs of GARRETT inside the black
BMW. Law enforcement thereafter witnessed GARRETT drive out of the parking lot of
Target Premises A-1 in the black BMW.

25. Arizona Motor Vehicle Division records identify 745 North Port Drive,
Gilbert, Arizona 85233 (Target Premises A-1), as the current address of Roderick
Duwayne Garrett, date of birth XX/XX/1985.

26. | Law enforcement previously conducted surveillance at RICKEY’s residence
at 1726 West Pollack Street (Target Premises A-2), Phoenix, Arizona, and observed the
black BMW (Target Premises A-5). parked at that address.

27. On November 4, 2021, the Court issued and filed under seal a tracking
warrant for the black BMW, No. 21-3253-MB.

28. | Law enforcement was unable to execute the tracking warrant for the black

BMW in the ten days prior to its expiration.

 
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29. On November 16, 2021, the Court issued and filed under seal a second
tracking warrant for the black BMW, No. 21-8292-MB.

30. On November 18, 2021, law enforcement placed a tracking device on the
black BMW.

31. On November 4, 2021, at approximately 1419 hours, law enforcement
conducted surveillance at 2219 South 48th Street, Phoenix, Arizona and observed the black
BMW parked in parking lot. Law enforcement observed Roderick GARRETT enter the
driver’s seat of the BMW and exit the parking lot of 2219 South 48th Street, Phoenix,
Arizona. The black BMW was followed by the White Dodge Challenger (Target Premises
A-7). The White Dodge Challenger was driven by a light-skinned black male with tattoos
on both sides of his neck. The driver was later identified using his driver’s license
photograph as the registered owner, Ramon MENESES.

32. The black BMW and the white Dodge Challenger drove to the Circle K at
1101 North 16th Street, Phoenix, Arizona. The White Dodge Challenger left the Circle K,
and law enforcement followed the black BMW (Target Premises A-5) to the K-MOMO
clothing store located at 1602 East Roosevelt, Phoenix, Arizona. Law Enforcement then
observed the White Dodge Challenger (Target Premises A-7) arrive and park in the
parking lot near the K-MOMO. Roderick GARRETT exited the black BMW and waited
Ramon MENESES to exit the White Dodge Challenger. Both GARRETT and MENESES
entered the K-MOMO clothing store.

33. Investigators observed GARRETT and MENESES exit the store carrying
purchase bags. GARRETT placed his purchase bag in the trunk of the black BMW. Law
enforcement then observed MENESES open his purchase bag to reveal a long-sleeve
orange shirt. MENESES then placed the orange shirt and bag into the trunk of the white
Dodge Challenger, GARRETT drove away in the black BMW, and MENESES drove in

an opposite direction in the white Dodge Challenger.

 

 
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34. Investigators followed the black BMW east to the 202 freeway in Phoenix,
Arizona, and then into Scottsdale, Arizona. Investigators lost sight of the black BMW and
were not able place a tracker on it.

35. Investigators researched the license plate of the White Dodge Challenger in
law enforcement and other databases and identified the vehicle registration for a white
2019 Dodge Challenger two door coupe with black stripes on the sides, bearing Arizona
license plate number YMASTB, and vehicle identification number (VIN) ending in 12004
(Target Premises A-7), registration to Ramon P. Meneses, date of birth XX/XX/1989, at
4138 W Wagon Wheel Dr., Phoenix, AZ 85051.

36. Law Enforcement conducted internet and social media research and

determined that Ramon MENESES is an associate of Roderick GARRETT.

Incident #2: November 5, 2021, Comerica Bank,
2804 North 44" Street, Phoenix, Arizona, 85008
Phoenix Police Department Report Number 2021-1725211
37. On November 5, 2021, at approximately 3:59 p.m., two black male suspects
entered the Comerica Bank, a federally insured institution, located at 2804 North 44%
Street, Phoenix, Arizona 85008.
38. | The suspects were described by witnesses and were observed on the bank
surveillance video as a Black males:

a. Suspect 1: approximately 5’8” to 6’0” tall, 25 to 35 years of age, 170 to 190
pounds, with short beard/facial hair, wearing a florescent green, florescent
green long sleeve shirt with a yellow reflective traffic, black pants, white
athletic shoes, and black sunglasses, and carrying a white bag.

b. Suspect 2: approximately 5’10” to 6’1” tall, 25 to 35 years of age, 190 to 215

pounds, tattoos on his neck near his face,wearing a blue medical mask, white
fisherman’s hat with an emblem, a bright orange long sleeve shirt, orange

reflective vest, blue pants, black gloves, and black and white athletic shoes.

 
 

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39. The suspects entered the bank and were greeted by the an employee in the
lobby. Both suspects ignored the employee and approached the teller line. Both suspects
began yelling at the teller employee behind the bandit barrier glass. The greeter employee
saw that the suspects were robbing the bank and pressed a remote robbery alarm on his
person. The suspects then grabbed the greeter employee and forced him physically to the
teller window. Suspect 1 yelled at the teller to give them the money. The teller began to
dispense money, and the manager came into the lobby to see who was yelling.

The suspects saw the manager and demanded that the manager open the back door to the
teller windows as they physically held the greeter employee. The manager complied and
opened the door, and both suspects went behind the teller bandit barrier and ransacked all

the drawers as they demanded more money from the teller. The teller complied and

dispensed more money to the suspects. The suspects fled the bank with approximately

$25,000 in U.S. Currency.

 

 
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40. On November 8, 2021 at approximately 1142 hours, investigators returned

to the K-MOMO clothing store located at 1602 East Roosevelt, Phoenix, Arizona, and
watched video footage from November 4, 2021. They observed GARRETT purchase a
florescent green long-sleeved shirt and MENESES purchase a bright orange long-sleeved
shirt at this store.

41. Upon review of bank surveillance footage from the Comerica Bank
investigators observed Suspect 1, who was wearing the long sleeve florescent green shirt
with a light facial beard, to have the same physical characteristics as Roderick GARRETT.
The facial hair was similar to GARRETT’s facial hair, the long-sleeved florescent green
shirt was similar to what GARRETT had purchased on November 4, 2021. Suspect 1 also
had the same demeanor and modus operandi as did the suspect in the Chase Bank branch
robbery described above in October 2021.

42. Upon review of bank surveillance footage from the Comerica Bank branch,
investigators observed Suspect 2 wearing a long-sleeved bright orange shirt. They also
observed him to have tattoos on his neck and similar physical characteristics to Ramon
MENESES. The physical build, neck tattoos, MENESES’s known relation to GARRETT,
and his recent purchase of a bright orange long-sleeved shirt on November 4, 2021, at the

K-MOM6O store led investigators to believe Suspect 2 to be Ramon MENESES.

 
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Additional Investigation

 

43. On November 12, 2021, at approximately 0930 hours, Investigators
conducted surveillance on 745 North Port Drive, Gilbert, Arizona (Target Premises A-1)
(the registered address of the black BMW). At approximately 1130 hours, Roderick
GARRET backed the black BMW (Target Premises A-5) into the garage next to a white
BMW SUV bearing Arizona license plate CMX1976,! which was found to be registered to
GARRETT’s girlfriend, Kayla Reinhardt.

 

44. OnNovember 12, 2021, at approximately 1605 hours, investigators observed
the White Dodge Challenger (Target Premises A-7) arrive in the adjoining parking lot of
745 North Port Drive. The driver, Ramon MENESES met Roderick GARRET in the

parking lot. Surveillance images document the contact.

 
   

45. GARRET drove away in the black BMW (Target Premises A-5) and
MENESES drove away in the White Dodge Challenger. Investigators followed both
vehicles, but lost them both.

46. On November 9, 2021, the Court issued and filed under seal a tracking
warrant for the white Dodge Challenger, No. 21-5280-MB.

 

' This white BMW is a different vehicle from the white BMW that is Target Premises A-
6. This white BMW is not the subject of the current Application for Search Warrant.
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47. Law enforcement was unable to execute the tracking warrant for the White

Dodge Challenger in the ten days prior to its expiration.

48. On November 22, 2021, the Court issued and filed under seal a second
tracking warrant for the white Dodge Challenger, No. 21-336-MB.

49. Law enforcement was unable to execute the second tracking warrant for the

White Dodge Challenger in the ten days prior to its expiration.

Incident #3: November 20, 2021, US BANK,
4811 North 83rd Avenue, Phoenix, Arizona, 85033
Phoenix Police Department Report Number 2021-18 10750

50. On November 20, 2021, at approximately 3:50 p.m., two unknown black
male suspects committed a bank robbery at the US Bank located inside the Safeway
grocery store at 4811 N 83rd Avenue, Phoenix, Arizona. The two suspects entered the
grocery store from the south entrance and approached the bank. The suspects initially
walked past the teller line, then turned around and went directly to the victim teller’s
window. The suspects’ movement to the teller counter caused a bank customer to move out
of the way.

51. At the teller window, Suspect 1 verbally announced that it was a robbery and
repeatedly demanded money from the victim teller. The victim teller realized it was a

robbery but was scared and froze. A second bank employee heard Suspect 1 announce the

 
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robbery and came over to the victim teller’s window. Suspect 1 continued to demand
money. During the encounter, Suspect 2 pulled out a gray/silver over black handgun from
his waistband area and displayed it to the bank employees. Both the victim teller and the
second bank employee saw the handgun. Suspect 2 then put the gun back down.

52. The second bank employee removed money from the victim teller’s drawer
and placed it under the bandit barrier. Suspect 1 took the money and demanded more
money. The victim teller and the second bank employee showed the suspects the empty
teller tray as Suspect 1 continued to demand more money. The suspects then left the bank
by walking back to the south entrance of the store and fled. A cash loss of approximately
$2,682 resulted from this robbery.

53. Grocery store surveillance video along and a witness described the suspects
as jumping over a block wall south of store along the shopping center property line. The
wall went to the backyard of a vacant house in a residential neighborhood. A witness in the
neighborhood observed the suspects quickly exit the backyard of the vacant house and
enter a white BMW X3, which had been parked backed into the driveway of the vacant
house. The suspects fled the scene in the white BMW X3. The witness was able to note the
license plate of the vehicle and provided it to law enforcement. According to the witness,
the vehicle had the Arizona license plate number HWAOJE (Target Premises A-6).

54. The description of the suspects as described by witnesses and captured on
surveillance video was:

a. Suspect 1: height ~6’, age in 30’s, average build; wearing: dark colored or
camouflage boonie style hat; white or light gray long sleeve shirt; dark
colored neck gaiter; black covid-style face mask; light blue gloves with dark

colored palms; tan or light colored pants.
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b. Suspect 2: height ~6’, age in 30’s, average build; wearing: camouflage
boonie style hat; white or light gray long sleeve shirt with a paint mark on
the sleeve; dark pants; light colored shoes; black colored covid style face

covering; a black colored cloth or durag was seen coming out from under the

back of the hat down to the shoulders.

  

55. Upon review of bank surveillance footage from the US Bank, investigators
observed Suspect 1, who was wearing the long sleeve white shirt and blue gloves to have
the same physical build and mannerisms as Roderick GARRETT.

56. Upon review of bank surveillance footage from the US Bank, investigators
observed Suspect 2 wearing a long white shirt, green gloves holding a black handgun in
his right hand to have similar physical characteristics to Ramon MENESES. The physical
build, and MENESES’s known relation to GARRETT led investigators to believe Suspect
2 to be Ramon MENESES.

57. Investigators researched the license plate of the white BMW bearing Arizona
license plate number HWAOJE and identified the vehicle registration for a white 2019
BMW X3, four-door station wagon, vehicle identification number (VIN) ending in 88202
(Target Premises A-6), to Leah Christine Miller, date of birth XX/XX/1992, at 1583 S
Western Skies Dr, Gilbert, Arizona (Target Premises A-3). Leah MILLER’s listed

 

 
 

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boyfriend is Justin MORRIS XX/XX/1989, a black male. Justin MORRIS is a known
associate of Roderick GARRET.

58. Investigators compared images of Justin MORRIS with the driver of the
Target Premises A-6 on November 2, 2021, at The Message Church, and confirmed that
they appear to be the same person.

59. Arizona Motor Vehicle Division records identify 1583 South Western Skies
Drive, Gilbert, AZ 85296-4327 (Target Premises A-3), as the current address of Leah
MILLER.

60. On November 22 and November 23, 2021 investigators conducted
survelliance at Target Premises A-3 and observed Target Premises A-6 parked in the
driveway.

61. Target Premises A-3 is the registered location of Target Premises A-6.
Target Premises A-6 was seen at the third bank robbery as the getaway car by several
witnesses.

62. Ramon MENESES now claims Target Premises A-3 as his motor vehicle
division registered location. Target Premises A-7 was last seen parked in the garage at
Target Premises A-3 and is the vehicle MENESES drove to buy the orange shirt used the

second bank robbery.

Incident #4: December 11, 2021, First Convenience Bank
1602 East Roosevelt Street, Phoenix, Arizona, 85006
Phoenix Police Department Report Number 2021-1927790
63. On December 11, 2021, at approximately 1656 hours, an unknown black
male committed an armed robbery at First Convenience Bank inside the Ranch Market at
1602 E Roosevelt Street in Phoenix, AZ 85003. The black suspect entered the bank and
immediately went to the teller window, pointed a gun at the victim-teller and demanded
money. The suspect became impatient and banged his gun on the teller counter. The suspect

then demanded money from a second victim-teller while pointing the gun at her as well.
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Both tellers complied and gave the suspect a total of approximately $3863.00 in U.S.
Currency. The suspect fled to the east.

64. The supect was described as: black male, height ~6’, age in 30’s, average
build, light facial hair; wearing: camouflage boonie-style hat; red and black floral (roses)
long-sleeve button-up shirt; dark sunglasses; no mask; black gloves; dark pants; and brown

shoes.

 

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65. Upon review of bank surveillance footage from the First Convienence Bank,
investigators observed the suspect, who was wearing the long-sleeve floral-print shirt, no
mask, and black gloves, to have the same physical build and mannerisms as Roderick
GARRETT. The suspect also had similar facial hair, nose and mouth structure to
GARRETT.
 

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GPS Tracking on 2017 Silver Ford Explorer HTA97B

66. Investigators reviewed the tracking device that was installed on the 2017
Ford Explorer (Target Premises A-4) and observed that vehicle parked just east of the
bank at 1652 hours on December 11, 2021.

67. Investigators noted that the Ford Explorer left 1726 West Pollack Street
(Target Premises A-2) and proceeded to the Cobblestone Carwash 1530 East Baseline
Road, Phoenix, Arizona, at 1446 hours to 1502 hours on December 11, 2021. The Ford
Explorer then drove around and eventually stopped at the First Convenience Bank at 1602
East Roosevelt Street, Phoenix, Arizona, (the location of Incident #4) at 1652 hours.

68. The Ford Explorer then drove to 1726 West Pollack Street (Target Premises

A-2) and remained there until the evening.

@ $C-3 Sliver Explorer
HTA97B

Record: 204 - 100

Date: 2021-12-11

Time: 16:52:13 (GMT -7)

Speed in MPH: 0 MPH
Heading: 292° (NorthWest)

Battery: 43%

 
 

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69. On December 11, 2021, at 2057 hours the Ford Explorer then drove to a
Circle K located at 15 West Southern Avenue, Phoenix, Arizona. A Task Force Officer
with the FBI obtained video footage from the Circle K for that date and time. The video
showed GARRETT and a white female with dark hair arrive in the silver Ford Explorer
(with GARRETT driving) at 2057 hours. GARRETT parked the vehicle at the gas pumps.

They both entered the store and purchased items at the register.

   

 
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ITEMS TO BE SEIZED

57. Based upon the facts contained in this Affidavit, your Affiant submits there
is probable cause to believe that the items listed in Attachment B will be found at Target
Premises A-1 through A-7.

58. Based on my training, education, and experience, and discussions with other
trained law enforcement personnel, along with information provided by sources of
information and confidential sources, your Affiant knows the following:

a. Individuals involved in criminal activity, to include robberies, often maintain
at their residences, vehicles, and on their property, tools and other
implements they used during or in furtherance of the commission of the
crime.

b. Individuals involved in robberies will also maintain notes or other documents
containing the names and contacts of their associates. These individuals will
also maintain notes or other documents related to the planning, preparation
and execution of the crime or related to the victim.

c. Robbers will retain items used to facilitate the robberies as well as items
taken during the robberies. Sometimes, in addition to money, robbers also
take receipts, other documents and items bearing the name of the commercial
business. These individuals tend to retain their clothing, including the items
worn in the robberies, for extended periods of time.

d. Robbers often store proceeds, instrumentalities, fruits, and evidence of their
crimes in their homes and/or vehicles.

e. Robbers may take pictures or videos of themselves, their fellow conspirators,
clothing or instruments used in the commission of crimes, as well as money
or property obtained during the course of the robberies and post those
pictures or videos on social media websites, such as Facebook, Instagram,

store them in cloud-based accounts, such as Google accounts, Yahoo
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59.

accounts, or Apple iCloud accounts, or share them via cell phone applications
and messaging services.

Criminals, to include robbers, will use various means of communication, to
include telephonic and/or other electronic means, to communicate with
fellow conspirators and share information, including the use of messenger
service applications on their cell phones, messenger services included with
Facebook, Instagram, Google, Gmail, Apple, Yahoo, and other social media
accounts. These communications may take place at various stages of the
commission of the crime, i.e, the planning of, execution of, or after the crime.
Moreover, robbers commonly use other capabilities of computers and
electronic devices to further their bank robbery activities. Therefore,
evidence related to bank robbery activity is likely to be found on electronic
storage media found at the Target Premises, as further described below.

In addition to items which may constitute evidence, fruits and/or

instrumentalities of the crimes set forth in this Affidavit, your Affiant also requests

permission to seize any articles tending to establish the identity of persons who have

dominion and control over the Target Premises A-1 though A-7, including rent receipts,

utility bills, telephone bills, addressed mail, personal identification, keys, purchase

receipts, sale receipts, photographs, vehicle pink slips, and vehicle registration.
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REQUEST FOR AUTHORIZATION
58. Your Affiant submits there is probable cause to believe that the items listed

in Attachment B, which constitute evidence, fruits, and/or instrumentalities of violations
of 18 U.S.C. § 2113(a) and (d) (Bank Robbery and Incidental Crimes), are likely to be
found at Target Premises A-1 through A-7, which are further described in Attachments
A-1 though A-7.

Qames Warahall

Jamie Marshall

Task Force Officer
Federal Bureau of Investigation

Sworn to and before me telephonically this (5 day of December, 2021.

VVek ba 08

HONORABLE United States Magistrate Judge
